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                                          No. 22-5325
                 __________________________________________________________________


                 IN THE UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                ___________________________________________________________________

                    NANCY GIMENA HUISHA-HUISHA, on behalf of
                       herself and others similarly situated, et al.,
                                                             Plaintiffs-Appellees,
                                                v.
                           ALEJANDRO MAYORKAS, et al.,
                                                           Defendants-Appellants.
      ________________________________________________________________________________________

                   On Appeal from the United States District Court
                           for the District of Columbia
                                 No. 1:21-cv-100
                             Hon. Emmet G. Sullivan
  ________________________________________________________________________________________

                 PLAINTIFFS-APPELLEES’ OPPOSITION TO
                   DEFENDANTS’ MOTION TO VACATE
               _______________________________________________________________

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      The government moves to vacate the district court’s judgment in this case

and remand with instructions to dismiss the suit as moot. Plaintiffs agree in part:

The case is moot, but vacatur is not warranted. Therefore, the Court should

remand with instructions to dismiss the remaining claims as moot, but the district

court’s partial judgment should remain in place.

      As the government notes, the end of the Department of Health and Human

Services’ (HHS) Public Health Emergency has terminated the Centers for Disease

Control and Prevention’s (CDC) Title 42 Order, halting the expulsions challenged

in this case. Mot. 9. Plaintiffs agree that the case is therefore moot. The Court

should remand to the district court with instructions to dismiss the remaining,

undecided claims (which are currently stayed pending this appeal) as moot.

      However, vacatur of the district court’s partial judgment is not warranted

under United States v. Munsingwear, Inc., 340 U.S. 36 (1950). It is the

government’s burden to show “equitable entitlement to the extraordinary remedy

of vacatur” of a court judgment. U.S. Bancorp Mortg. Co. v. Bonner Mall P’ship,

513 U.S. 18, 26 (1994). And such “vacatur is usually inappropriate when ‘the

party seeking relief from the judgment below caused the mootness by voluntary

action.’” Am. Bar Ass’n v. F.T.C., 636 F.3d 641, 649 (D.C. Cir. 2011) (quoting

U.S. Bancorp, 513 U.S. at 24). That is the case here: The federal government,

which lost below and appealed, caused the mootness by ending the Public Health


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Emergency. The government was not required to end the Public Health

Emergency when and how it did; that was a policy choice rather than an automatic

result of any public health or scientific objective measure set forth in the Public

Health Emergency declaration. 1 Vacatur is therefore presumptively unwarranted.

See, e.g., I.A. v. Garland, No. 20-5271, 2022 WL 696459, at *1 (D.C. Cir. Feb. 24,

2022) (rejecting vacatur where agencies replaced a challenged Rule, mooting the

case).

         On the facts of this case, Defendants cannot demonstrate “equitable

entitlement” to vacatur. U.S. Bancorp, 513 U.S. at 26. They are in no way harmed

by the existence of a judgment against the now-defunct Title 42 CDC orders. To

the contrary, Defendants explain that “[t]here is no reasonable likelihood that the

CDC will issue another Title 42 emergency order affecting processing at the border

because of a serious public health danger arising from COVID-19 in the

foreseeable future.” Mot. 12. And they do not attempt to explain how the district

court’s judgment that the orders were arbitrary and capricious in their reasoning




1
  See OMB, Statement of Administration Policy (Jan. 30, 2023),
https://perma.cc/FE83-MXDE (describing the government’s plan to end the Public
Health Emergency); HHS, Determination That A Public Health Emergency Exists
(Jan. 31, 2020), https://aspr.hhs.gov/legal/PHE/Pages/2019-nCoV.aspx; HHS,
Renewal Of Determination That A Public Health Emergency Exists (Feb. 9, 2023),
https://aspr.hhs.gov/legal/PHE/Pages/COVID19-9Feb2023.aspx.
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would impair “future relitigation,” Mot. 18, about a hypothetical, future CDC

order, which would have its own justifications.

      Rather, their principal argument is that the regulation challenged in this

case—which establishes a framework for similar CDC orders issued under 42

U.S.C. § 265—was vacated below, and that the government is burdened by that

vacatur. Mot. 18. 2 But Defendants themselves previously announced their

intention “to undertake a new rulemaking to reconsider the framework under which

the CDC Director may exercise her authority under 42 U.S.C. § 265 to respond to

dangers posed by future communicable diseases.” D. Ct. ECF No. 179 at 2. The

government would not be harmed by leaving the regulation vacated while it

proceeds with that announced plan. And because the district court’s judgment was

based entirely on Defendants’ arbitrary and capricious reasoning, Defendants can

address the flaws the court identified in their subsequent rulemaking. Cf. Mot. 18

(wrongly suggesting that leaving the judgment in place would prohibit Defendants

from addressing the district court’s reasoning).

      Indeed, it is particularly appropriate here that the regulation remain vacated,

encouraging the government to reconsider its approach to § 265 in the intended


2
  The government also seeks to vacate the injunction prohibiting enforcement of
the regulation against the class in this case. To the extent that injunction has any
ongoing effect now that the expulsions have ceased, see Huisha-Huisha v.
Mayorkas, 560 F. Supp. 3d 146, 162-64 (D.D.C. 2021) (addressing class
definition), Plaintiffs do not oppose its dissolution.
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new rulemaking. In the earliest days of the COVID-19 pandemic, the government

invoked § 265 to expel people from the United States for the first time ever in the

over-century-long history of that statute. Mot. 3. Numerous reports indicated that

decision was not based on the public health judgment of CDC experts, who were

overruled under White House pressure.3

      And while this Court tentatively concluded that the government’s asserted

expulsion authority was lawful, it did so on a statutory theory the government has

itself never advanced or endorsed. See Huisha-Huisha v. Mayorkas, 27 F.4th 718,

729, 733 (D.C. Cir. 2022) (relying on 8 U.S.C. § 1227(a)(1)(B) to provide

expulsion authority, an argument the government has never made, but noting that

its legal conclusions would not bind future courts). Particularly given the

“stomach-churning” pattern of “death, torture, and rape” caused by the Title 42



3
  See, e.g., CDC Officials Objected to Order Turning Away Migrants at Border,
The Wall Street Journal (Oct. 3, 2020), https://www.wsj.com/articles/cdc-officials-
objected-to-order-turning-away-migrants-at-border-11601733601; Pence Ordered
Borders Closed After CDC Experts Refused, AP News (Oct. 3, 2020),
https://apnews.com/article/virus-outbreak-pandemics-public-health-new-york-
health-4ef0c6c5263815a26f8aa17f6ea490ae; Inside the Fall of the CDC,
ProPublica (Oct. 15, 2020), https://www.propublica.org/article/inside-the-fall-of-
the-cdc; Top CDC Official Told Congress Migrant Expulsion Policy Was Not
Needed to Contain COVID, CBS News (Nov. 12, 2021),
https://www.cbsnews.com/news/cdc-official-told-congress-migrant-expulsion-
policy-not-needed-to-contain-covid/. These reports were subsequently
corroborated by congressional interviews. See Ex. to Pls. Opp.’n to States’ Mot.
for Stay (Dec. 14, 2022) (testimony of Dr. Martin Cetron, Director of CDC’s
Division of Global Migration and Quarantine).
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policy, id. at 733, the government’s assertion of an expulsion power in the now

vacated regulation, see 42 C.F.R. § 71.40(b)(2), is ripe for reconsideration.

Because Defendants themselves announced their intention to undertake just such a

reconsideration in a new rulemaking, the court should decline to vacate the district

court’s judgment.

      The inappropriateness of vacatur is underscored by Defendants’ tactical

choice to avoid litigating this appeal. At the time they appealed the district court’s

judgment, Defendants announced that in lieu of briefing they would move this

court to “to hold the appeal in abeyance pending,” inter alia, the “forthcoming

rulemaking to replace § 71.40.” D. Ct. ECF No. 179 at 1. They noted that “[t]he

outcome of that rulemaking could . . . moot Plaintiffs’ challenge to” the regulation,

id. at 2, and apparently contemplated thereafter seeking Munsingwear vacatur from

this Court.

      But vacatur is not warranted when a lower court judgment is “not

unreviewable, but simply unreviewed by [the losing party’s] own choice.” U.S.

Bancorp, 513 U.S. at 25 (emphasis added). Where, as here, “the losing party has

voluntarily forfeited [its] legal remedy by the ordinary processes of appeal,” it

“thereby surrender[s] [its] claim to the equitable remedy of vacatur.” Id. Nor does

it matter that in the end the case was mooted by HHS’s choice to end the Public

Health Emergency, rather than the anticipated choice to replace the regulation.


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The basic fact remains that the government never intended to litigate the merits of

this appeal, thereby forfeiting its equitable claim to vacatur. Under these unusual

circumstances, the government has not carried its burden to justify the

“extraordinary remedy of vacatur.” U.S. Bancorp, 513 U.S. at 26 (emphasis

added).

      The government notes that the Supreme Court vacated this Court’s

intervention denial order, and suggests that this Court must therefore likewise

vacate the district court’s judgment. Mot. 17. But that does not follow. The

putative intervenor States were denied intervention before this Court and sought

review of that decision in the Supreme Court. Mot. 7. Those States did not cause

the subsequent mootness—the federal government did. Thus the Supreme Court’s

order addressed the more straightforward Munsingwear situation in which

“mootness results from the unilateral action of the party who prevailed in the lower

court”—in the case of the Supreme Court litigation, the federal government which

had successfully opposed intervention before this Court. U.S. Bancorp, 513 U.S.

at 23 (emphasis added); see Arizonans for Off. Eng. v. Arizona, 520 U.S. 43, 71-72

(1997) (cited by government) (emphasizing appealing party did not cause

mootness); Planned Parenthood of Wisconsin, Inc. v. Azar, 942 F.3d 512, 519

(D.C. Cir. 2019) (cited by government) (same). The government’s motion before

this Court addresses a different situation, because mootness is here caused by the


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party that lost below. That makes all the difference: The Supreme Court has

explained that the “principal condition to which we have looked” in assessing

whether vacatur is inappropriate “is whether the party seeking relief from the

judgment below caused the mootness by voluntary action.” U.S. Bancorp, 513

U.S. at 24 (emphasis added). Here, it did.

      The other cases granting vacatur on which the government relies are

likewise unavailing. As its own cases note, the power to vacate is “flexible,” and

its appropriateness turns on the particular circumstances of a case. Alvarez v.

Smith, 558 U.S. 87, 94 (2009). In Alvarez, for example, a county resolved various

state court cases, mooting the related pending federal litigation against it. The

Court vacated the lower court judgment, emphasizing that the county “did not

coordinate the resolution of plaintiffs’ state-court cases, either with each other or

with plaintiffs’ federal civil rights case” and that “the presence of this federal case

played no significant role in the termination of the separate state-court

proceedings.” Id. at 96-97. In other words, where a government’s left hand

operates independently from its right, resulting mootness may well be described as

“happenstance.” Id. at 94 (internal quotation marks omitted). But that is not the

case here. Indeed, the government’s announcement that it intended to let the

public health emergency lapse specifically referred to the connection that decision




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would have with the Title 42 Policy and the Supreme Court’s order in this very

litigation. See OMB Statement, supra note 1 at 2.

      Ultimately, the government has not identified any case in which vacatur was

granted under the unusual circumstances of this case, nor any persuasive equitable

justification for vacating the judgment below.

                                  CONCLUSION

      The Court should deny the motion to vacate, and remand with instructions to

dismiss the still pending claims as moot.

 Dated: June 26, 2023                            Respectfully Submitted,

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       This motion response complies with the type-volume limitation of Federal

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                                                     /s/Lee Gelernt
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       I hereby certify that on June 26, 2023, I electronically filed the foregoing

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the CM/ECF system. A true and correct copy of the foregoing has been served via

the Court’s CM/ECF system on all counsel of record.


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